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                 IN THE UNITED STATES DISTRICT  JJ-3 PF
                FOR THE SOUTHERN DISTRICT OF GEORGIA
                          SAVANNAH DIVISION

UNITED STATES OF AMERICA,                      CIVIL ACTION
ex rd.                                                    Cv4i                165
KELLY RENEE WELLS,                             FILE NO.

                    Plaintiffs,
                                               FILED UNDER SEAL
V.                                             PURSUANT TO
                                               31 U.S.C. § 3730(b)(2)
BASSETT MIRROR COMPANY, INC.;:
MACY'S, [NC                                    DO NOT PLACE IN PRESS BOX
THE NEIMAN MARCUS GROUP.                       DO NOT ENTER ON PACER
INC.; and
Z GALLERIE, INC.,                              JURY TRIAL DEMANDED

                    Defendants.

                                   COMPLAINT

      Plaintiff Kelly Renee Wells ("Relator") brings this action to recover

damages and civil monetary penalties on behalf of the United States of America

arising from violations of the Civil False Claims Act, 31 U.S.C. § 3729 et seq., by

Defendant Bassett Mirror Company, Inc. ("Bassett"), Defendant Macy's, Inc.

("Macy's"), Defendant The Neiman Marcus Group, Inc. ("Neiman Marcus"), and

Defendant Z Gallerie, Inc. ("Z Gallerie") (collectively referred to as "the

Defendants")
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                     SUMMARY OF THE FALSE CLAIMS

       1.    Bassett has classified wooden bedroom furniture from the People's

Republic of China ('China") as non-bedroom furniture on customs forms since at

least 2007 in order to avoid steep antidumping penalties.

      2.     Macy's, Neiman Marcus, and Z Gallerie have purchased the imported

furniture in question from Basset for sale in their stores since at least 2007.

      3.     Macy "s, Neiman Marcus, and Z Gallerie have conspired with Bassett

to defraud the United States of America by agreeing to classify , wooden bedroom

furniture as non-bedroom furniture, avoid payment of antidumping penalties, and

gain a competitive advantage over other retailers who are unwilling to join the

fraudulent scheme.

      4.     As a result, the Defendants have evaded significant antidumping

penalties for at least six years and have financially damaged retailers who have not

been involved in the fraudulent scheme by flooding the market with cheap Chinese

wooden bedroom furniture.

                   PARTIES, JURISDICTION, AND VENUE

      5.     Relator brings this action on behalf of the United States of America

against the Defendants for treble damages and civil penalties arising from the

Defendants' false statements and false claims in violation of the Civil False Claims

Act, 31 U.S.C. § 3729 etseq.
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      6.     Relator is a citizen of the United States and a resident of Huntsville,

Alabama.

       7.    Relator formed Southern Home Accents, an Alabama sole

proprietorship, in 2006. In 2010, Relator dissolved Southern Home Accents and

formed Glam Furniture, LLC, an Alabama corporation, which is still in operation

today. Southern Home Accents and Glam Furniture, LLC (hereafter collectively

referred to as "Glam Furniture") specialize in selling unique home decor and fine

furniture. One type of furniture that Glam Furniture sells is wooden bedroom

furniture that is laminated with mirrors (hereafter referred to as "mirrored wooden

bedroom furniture")

      8.     From 2007 to 2012, Glam Furniture was a major retailer of Bassett for

mirrored wooden bedroom furniture and sold many of the same items as Macy's,

Neiman Marcus, and Z Gallerie.

      9.     As a retailer of Bassett, Relator was in a unique position to view

Bassett's private marketing materials, invoices, shipping crates, and ernails. More

particularly, she was able to observe and collect documentation on how Bassett

changed the description of imported mirrored bedroom furniture to non-bedroom

descriptions on invoices, shipping forms, and its website but continued to market

the furniture as bedroom furniture to its retailers. Relator also received an email

from a Bassett sales representative written by a vice president of Bassett which


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shows that Bassett was acutely aware of the severe antidumping penalties

associated with wooden bedroom furniture and took steps to avoid antidumping

penalties. Relator also received emails from sales representatives with attached

pictures showing the mirrored bedroom furniture in bedroom displays.

       10.   Bassett, originally established in 1922, is a corporation formed under

the laws of the state of Virginia, with its principle office at 1290 Philpott Drive,

Bassett, Virginia 24055. Among other things, Bassett imports wooden bedroom

furniture through various United States ports including Savannah, Miami,

Wilmington, New York, Norfolk, Long Beach, and Los Angeles. Basset then sells

the furniture to various retailers, including Macy's, Neiman Marcus, and Z

Gallerie.

       11.   Since July 1, 2007, Bassett has imported approximately 1,000

shipments of goods into the United States through the Port of Savannah, which is

located in the Southern District of Georgia. Approximately half of these shipments

contained furniture and related items that were of Chinese origin. Upon

information and belief, these shipments cleared customs in Savannah because

Savannah was the final port of entry.

      12.    Macy's is a corporation formed under the laws of the state of

Delaware, with its principal office located at 7 West Seventh Street, Cincinnati,




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Ohio 45202. Macy's operates department stores throughout the United States,

including at least two department stores in the Southern District of Georgia.

      13.    Macy's has been selling Bassett furniture since at least 2007 and

currently sells mirrored wooden bedroom furniture from Bassett in its department

stores and through its online website.

      14.    Neiman Marcus (including its affiliated entities Neiman Marcus, Inc.

and Horchow Mail Order. Inc.) is a corporation formed under the laws of the state

of Delaware, with its principal office located at 1201 Elm St., Suite 2900, Dallas,

Texas 75270. Neiman Marcus operates department stores throughout the United

States. Neiman Marcus also operates at least two online websites that advertise

and sell to customers across the United States including customers in the Southern

District of Georgia.

      15.    Neiman Marcus sells mirrored wooden bedroom furniture in its

department stores and through its online websites. Neiman Marcus purchases

much of this furniture from Bassett and has been doing so since at least 2007

      16.    Z Gallerie is a corporation formed under the laws of the state of

California, with its principle office located at 1855 W. 139TH Street, Gardena,

California 90249. Z Gallerie operates department stores throughout the United

States. Z Gallerie also operates an online website that advertises and sells to




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customers across the United States including customers in the Southern District of

Georgia.

       17.   Z Gallerie sells mirrored bedroom furniture in its department stores

and through its online website. Z Gallerie purchases much of this furniture from

Bassett and has been doing so since at least 2007.

       18.   This action arises under the False Claims Act, 31 U.S.C. § 3729 et

seq. This Court has original federal question jurisdiction over the claims asserted

herein pursuant to 28 U.S.C. § 1331, 28 U.S.C. § 1345, and 31 U.S.C. § 3730(b).

       19, The Court has personal jurisdiction over the Defendants pursuant to

31 U.S.C. § 3732(a) which provides that, ' -[a]ny action under section 3730 may be

brought in any judicial district in which the defendant or, in the case of multiple

defendants, any one defendant can be found, resides, transacts business, or in

which any act proscribed by section 3729 occurred." At all times relevant to this

action, the Defendants have transacted business in the Southern District of

Georgia. Additionally, the Defendants have committed numerous False Claims

Act violations in this federal judicial district as described in this Complaint.

      20. Venue is proper in this Court pursuant to 31 U.S.C. § 3732(a)

because, at all times relevant to this action, the Defendants have transacted

business in the Southern District of Georgia. Additionally, the Defendants have
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committed numerous False Claims Act violations in this federal judicial district as

described in this Complaint. Venue is also proper pursuant to 28 U.S.C. § 1391(c).

       21.    This action is not based upon the public disclosure of allegations or

transactions in the defined categories of hearings, reports, and news media

identified in 31 U.S.C. § 3730(e(4)(A). If there has been a public disclosure of

any of the allegations underlying this action, Relator qualifies as the "original

source" of information pursuant to 31 U.S.C.. § 3730(e)(4)(B).

                                          FACTS

                               Customs Laws and Forms

       22.    The preceding paragraphs are re-alleged and incorporated by

reference as if fully set forth herein.

       23.    The United States of America (hereafter referred to as the "United

States" or "U.S."), through the Bureau of Customs and Border Protection ("CBP"),

a division of the U.S. Department of Homeland Security, collects duties and

penalties on the importation of goods into the United States pursuant to the Tariff

Act of 1930, 19 U.S.C. § 1202 et seq.

       24.    The U.S. International Trade Commission (hereafter referred to as the

"USITC") and the U.S. Department of Commerce (hereafter referred to as the

"Department of Commerce") are responsible for conducting antidumping and

countervailing duty investigations.


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      25.    The Tariff Act of 1930 allows for industries in the United States to

petition the USITC and the Department of Commerce for relief from imported

goods sold in the United States at less than fair value (a practice known as

"dumping") or that benefit from countervailing subsidies provided by foreign

governments.

      26.    If it is determined that dumping is occurring and that an industry in

the United States is being materially injured or threatened by the dumping, the

Department of Commerce may issue an antidumping duty order to offset the

dumping.

      27.    On January 4, 2005, the U.S. Department of Commerce published in

the Federal Register (70 FR 329) an antidumping duty order on all wooden

bedroom furniture imported into the United States from China.

      28.    According to the Department of Commerce's order, antidumping

penalties on wooden bedroom furniture from China ranged anywhere from 0.83%

to 198.08% depending on the manufacturer. Since 2005, the schedule has been

amended multiple times to provide for differing penalties depending on the

manufacturer.

      29.    If a Chinese manufacturer is not specifically listed by the Department

of Commerce in the order, the manufacturer falls under a general category referred
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to as "PRC-Wide". In 2005, the PRC-Wide rate carried an antidumping penalty of

198.08%. This rate was eventually increased to 216.01%.

       30.    The Department of Commerce's order defines wooden bedroom

furniture as the following: "Wooden bedroom furniture is generally, but not

exclusively, designed, manufactured, and offered for sale in coordinated groups, or

bedrooms, in which all of the individual pieces are of approximately the same style

and approximately the same material and/or finish, The subject merchandise is

made substantially of wood products, including both solid wood and also

engineered wood products made from wood particles, fibers, or other wooden

materials such as plywood oriented strand board, particle board, andfiberboard,

with or without wood veneers, wood overlays, or laminates, with or without non -

wood components or trim such as metal, marble, leather, glass, plastic, or other

resins, and whether or not assembled, completed, or finished."

      31.    The Department of Commerce's order then gives numerous examples

of what constitutes wooden bedroom furniture including, but not limited to, the

following: "night tables, night stands, dressers, commodes, bureaus, mule chests,

gentleman's chests, wardrobes, vanities.., chests of drawers, narrow chest of

drawers, armoires" and "other bedroom furniture consistent with the above list."

      32.    The Harmonized Tariff Schedule of the United States (hereafter

referred to as "the HTS") is the principal resource used for determining tariff
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      classifications for imported goods into the United States. The HTS is published

      and maintained by the USITC.

            33.    There are over 17,000 unique ten-digit HTS classification codes.

      Each unique code informs CBP of the correct duty or penalty for any given

      imported good.

            34.     CBP is solely authorized to interpret the FITS, issue legally binding

      rulings or advice on tariff classifications, to administer customs laws, and to collect

      all duties and penalties on behalf of the United States.

            35.     When a company in the United States imports goods from a foreign

      country, it must submit a Form 7501 to CBP. This form is generally sent

      electronically.

            36.    Among other things, a completed Form 7501 details the importer of

      record, country of origin, U.S. Port of lading, the consignee, a description of the

      merchandise, quantity of units, and the total value of the goods.

            37.     Under the description of the goods, the importer is required to fill in a

      box labeled "HTSUS" which is where the importer enters the HTS classification

      code. The importer is also required to provide a description of the goods on other

      entry documentation.

            38.    If the incorrect HTS classification code is entered on the Form 7501

      or if a false description is used on entry documentation and submitted to CBP, the

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 importing party may evade the required duty or penalty on the goods being

 imported.

       39.    In 1993, Congress passed the Customs Modernization Act to amend

 the Tariff Act of 1930.

       40.    Prior to enactment of the Customs Modernization Act, an importer

 was required to describe the merchandise and relay the cost to CBP. It was CBP's

 responsibility to classify the goods and determine their value (appraise the goods to

 allow the correct duty to be applied).

       41.    As a result of the enactment of the Customs Modernization Act, it is

 now the responsibility of the importer of record to use "reasonable care" to "enter",

 "classify", and "value" the goods and to provide any other information necessary

 to enable CBP to assess the correct duties, collect accurate statistics, and determine

 whether all other applicable requirement are met. 19 U.S.C.A. § 1484.

       42.    Thus, the importer of record is ultimately responsible and liable for

 the correctness of the entry documentation presented to CBP and all applicable

 duties, taxes, fees, and penalties. See also, United States v. Optrex America, Inc.,

 32 C .1.T. 620 (2008), finding "it is well settled that the importer bears

 responsibility for classification of its merchandise."




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       43.    Under the Customs Modernization Act, importers are expected to be

compliant with customs regulations by seeking guidance though various channels

both before and after the entry of goods.

       44.    19 U. S.C.A. § 1592(c) establishes civil penalties for introducing

goods into the United States by means of any material and false statement. The

severity of the penalty depends on whether the violation was committed with fraud,

gross negligence, or negligence. For instance, a fraudulent violation is punishable

by a civil penalty in an amount not to exceed the lesser of the domestic value of the

merchandise or four times the lawful duties, taxes, and fees.

      45.    19 U.S.C.A. § 1592(d) further provides: "...if the United States has

been deprived of lawful duties, taxes, or fees as a result of a violation of subsection

(a) of this section, the Customs Service shall require that such lawful duties, taxes,

and fees be restored, whether or not a monetary penalty is assessed."

      46.    Falsely classifying goods on entry documentation is also a crime. 18

U.S.C.A. § 542 provides whoever "introduces.. .into the commerce of the United

States any imported merchandise... by means of any false statement in any

declaration without reasonable cause to believe the truth of such statement. . .[s]hall

be fined for each offense under this title or imprisoned not more than two years, or

both." 18 U.S.C.A. § 541 also provides: "Whoever knowingly effects any entry of

goods, wares, or merchandise, at less than the true weight or measure thereof, or

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upon a false classification as to quality or value, or by the payment of less than the

amount of duty legally due, shall be fined under this title or imprisoned not more

than two years, or both."

       47.    An individual who falsifies a Form 7501 may also be guilty of wire

fraud under 18 U.S.C. § 1343 which carries a possible sentence of twenty years.

An individual who knowingly makes a false classification may also be guilty of

making a false statement under 18 U.S.C. § 1001 which carries up to five years in

prison.

       48.    Wooden bedroom furniture from China has a HTS classification code

beginning with 9403.50. Non-wooden bedroom furniture from China has a FITS

classification code beginning with 9403.60.

                       The Scheme to Defraud the United States

       49.    The preceding paragraphs are re-alleged and incorporated by

reference as if fully set forth herein.

       50.    Bassett has been importing mirrored wooden bedroom furniture from

various Chinese manufacturers since at least July 1, 2007 and continues to do so to

the present day.

       51.    There are approximately 17 distinct bedroom collections of mirrored

bedroom furniture consisting of more than 70 different pieces of furniture that

Bassett has imported during this timeframe (collectively referred to as "the Bassett


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Furniture") (See, Exhibit 1, a list of each collection and individual pieces of

furniture imported).

       52.    From July 1, 2007 to present day, Bassett has primarily imported the

Bassett Furniture from six Chinese manufacturers: Zhong Shun Wood Art

Company, Chun Wood Furnishings, Hang Hai Woodcraft's Art Factory, Ding Hui

Furniture Factory, Fujian Tourist Trading Company, and Shengda Furniture

Manufacturer Company.

       53.    Five of these manufacturers fall under the PRC-Wide rate meaning

that an antidumping penalty of 216.01% is attached to their goods. Only Hang Hai

Woodcraft's Art Factory had a lesser antidumping penalty -- ranging from 6.65%

in 2005 to 6.68% today.

       54.    The Bassett Furniture is clearly wooden bedroom furniture for

purposes of the Department of Commerce's January 4, 2005 order and therefore

subject to antidumping penalties.

       55.    Upon information and belief. Bassett has never sought any guidance

or requested a determination from CBP on how the Bassett Furniture should be

classified.

       56.    On each shipment of the Bassett Furniture into the United States since

July 1, 2007, Bassett knowingly submitted or caused to be submitted a Form 7501

and/or other entry documentation indicating that the Bassett Furniture was not


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wooden bedroom furniture. By doing so, Bassett was able to avoid antidumping

penalties.

       57.   After importing the Bassett Furniture. Bassett would sell the Bassett

Furniture to various retailers around the country including Macy's. Neiman

Marcus, and Z Gallerie (hereafter collectively referred to as "the Retailers"). The

Bassett Furniture was sold to the Retailers at a reduced rate as a result of the

avoidance of the antidumping penalties.

       58.   Bassett originally referred to the Bassett Furniture by their common

bedroom names such as a "nightstand". "dresser", "vanity", and "armoire" and

marketed the Bassett Furniture as such on its publicly available website and to the

Retailors (See, "Exhibit 2-A", an image of the inventory on bassettmirror,com

from July 2007). A picture taken by Bassett and distributed to retailers in 2007

also shows a collection of the Furniture (the Borghese collection) in a bedroom

setting (See, "Exhibit 2-B"). This picture was emailed to Relator by a Bassett sales

representative in 2007.

      59.    Over time, however, Bassett began using false descriptions for the

Bassett Furniture to give the appearance that the Bassett Furniture was non-

bedroom furniture (See. "Exhibit 3", an image of the inventory on

bassettrnirror.com from June 2013).




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      60.    For example, Bassett's internal identifying number for a bedroom

dresser is 910. Bassett originally described items labeled as 910 on shipping

cartons "DRESSER" (See, "Exhibit 4-A"). Bassett, however, later changed this

description on cartons to "MIRRORED DRA WER CONSOLE" (See,            "Exhibit 4-

B"). Other than the name change, these items are exactly the same.

      61.    As another example, Bassett's internal identifying number for

nightstands is 990. Bassett originally described items labeled as 990 on shipping

cartons as "NIGHT STAND" (See. "Exhibit 5-A") Bassett, however, later changed

this description on cartons and invoices to "MiRRORED MAGAZINE CHAIR SIDE

CHEST' (See, "Exhibit 5-B"). Other than the name change, these items are

exactly the same.

      62.    The change in names can also be seen on Bassett invoices. For

example, Bassett called the Chelsea dresser (Item Number T1230-910) a "6

DRAWER DRESSER" in January of 2010 on its invoices (See, "Exhibit 6-A") By

January of 2012, however, Bassett had changed the name to "MIRRORED HALL

GRAND CONSOLE" (See, "Exhibit 6-B"). Other than the name change, these

items are exactly the same.

      63.    Despite changing the description of the Bassett Furniture, Bassett

continued to market the Bassett Furniture as bedroom furniture. Indeed, at trade




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shows and in marketing materials provided to retailers, Bassett would place the

Bassett Furniture in bedroom settings.

      64.    For instance, Relator received an email in 2011 from a Bassett sales

representative. Attached to the email was a photograph of the Bassett Furniture in

bedroom settings. In fact, the photograph shows the entire Chelsea collection of

furniture in a bedroom (See. "Exhibit 7").

      65.    In 2012, Bassett displayed the Bassett Furniture at a trade show in

High Point, North Carolina. Pictures taken at the trade show depict the Chelsea

nightstand (Item No. T1230-990) (See, 'Exhibit 8-A") and the Borghese dresser

(Item No. 8311-911) (See, "Exhibit 8-13") in bedroom settings.

       66.   Bassett also utilizes a private website called furnishweb.com that is

used by its retailers. Furnishweb.com is password protected and only Bassett

retailers can obtain a password and user ID. The website displays the Bassett

Furniture sold by Bassett and tracks the sales of its retailers.

      67.    A review of Bassett's inventory on furnishweb.com reveals that

Bassett has intentionally changed and misidentified every piece of the Basset

Furniture as non-bedroom furniture.

      68.    As further evidence that the descriptions used by Bassett on customs

documents were intentionally misleading, current advertising material by Bassett's




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retailers show that the Bassett Furniture is being marketed to the public as bedroom

furniture.

       69.   On Bassett's website, if a customer clicks on the "Buy Online" button,

it takes the customer to a website run by Home Gallery Stores.

       70.   Home Gallery Stores advertises and sells many pieces of the Bassett

Furniture as bedroom furniture.

       71.   For instance. Home Gallery Stores advertises a nightstand called the

"Chelsea Mirrored Nightstand" (Item No. T-1230-990) and shows a picture of the

nightstand next to a bed (See, "Exhibit 9"). On Bassett's public website, however,

the same nightstand is called a "Chelsea Magazine Chest" (Item No. T1230-990)

(See. "Exhibit 3")

       72.   Other smaller online retailers also market the Bassett Furniture as

bedroom furniture.

       73.   Homefurnitureshowroom.com (a Lowe's company), a Bassett retailer,

sells the "Bassett Mirror 8311-990 Borghese Hail Chest Nightstand" (See, Exhibit

10). On bassettmirror.com , Bassett calls the nightstand a "Borghese Magazine

Chest" (Item No. 8311-990) (See, "Exhibit 3")

       74.   ivgStores, a Bassett retailer, advertises a dresser as a "Bassett Mirror

- 6 Drawer Chelsea Mirror Dresser"on its website and places the dresser under

the bedroom furniture section (See, "Exhibit 11 "). On bassettmirror.com , Bassett
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calls the same dresser a "Chelsea Sit Drawer Console" (Item No. T1230-910)

(See, 'Exhibit 3").

       75.    Chintz & Company, a Bassett retailer, advertises a dresser as a

"Borghese Dresser" on its website and places the dresser under the bedroom

furniture section (See. "Exhibit 12"). On bassettmirror.com . Bassett calls the

dresser a "Borghese Mirrored Chest" (Item No. 8311-9121) (See, "Exhibit 3").

       76.   Bassett was well aware of the significance of how furniture is

classified on customs forms and that classifying furniture as bedroom furniture

could trigger severe antidumping penalties.

       77.   In a February 9, 2012 email to approximately 40 Bassett sales

representatives. Bassett Vice President Bill Frazier expressed Bassett's concern

over how a piece of furniture was being described. CEO of Bassett, Spencer

Morten III, was also copied on the email (See, "Exhibit 13", a copy of the email).

The email from Mr. Frazier was emailed to Relator by a Bassett sales

representative.

      78.    This email not only demonstrates Bassett's knowledge of the relevant

antidumping penalties, but it also demonstrates that Bassett was taking measures to

ensure that CBP would not flag any imports as wooden bedroom furniture.




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                                       The Retailers

       79.    The preceding paragraphs are re-alleged and incorporated by

reference as if frilly set forth herein.

       80.    The Retailers purchased large quantities of the Bassett Furniture from

Bassett between at least July 1, 2007 and the present day.

       81.    The Retailers knew that the Bassett Furniture was bedroom furniture

for purposes of customs because of the way the Retailers market the Bassett

Furniture to the public. The Retailers also knew that Bassett was importing the

Bassett Furniture under the false pretense that it was non-bedroom furniture.

       82.    Macy's, for example, sells a collection of bedroom furniture it calls

the "Marais Bedroom Furniture Sets & Pieces, Mirrored" and features the

collection in a bedroom setting (See, "Exhibit 14"). This collection of furniture

features a nightstand called the "Marais Chest, Mirrored Small chest", a dresser

called a "Marais Chest, 7 Drawer Mirrored chest", and a smaller dresser called

the "Marais chest, 3 Drawer Mirrored Chest." On bassettmirror.com , Bassett

calls the nightstand a "Borghese Magazine Chest" (See, "Exhibit 3"); the dresser a

"Borghese Drawer Console" (Item No. 8311-911) (See, "Exhibit 3"); and the small

dresser a "Borghese Hall chest" (Item No. 8311-766) (See, "Exhibit 3")

      83.     Neiman Marcus has a "Bedroom" section on Horchow's website.

Under the bedroom section, Neiman Marcus advertises a subsection for "Bedside


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Tables & Dressers" See, "Exhibit 15") and features a picture of what

bassettmirror.com calls a "Murano chest" (Item No. T2624-203) (See, "Exhibit



      84.    Under the "Bedroom Mirrored Furniture" section of Horchow's

website, Neiman Marcus sells numerous pieces of the Bassett Furniture (See,

"Exhibit 16") including, but not limited to, what bassettmirror.com calls the

"Murano Commode" (Item No. T2624-990), the "Murano Chest" (Item No.

T2624-203), the "Borghese Jewelry Armoire" (Item No. 8311-227), the "Collette

Chairside Chest" (Item No. Ti 267-990), the "Collette Jewelry Armoire" (Item No.

T1267-927), the "Borghese Magazine Chest" (Item No. 8311-990), the "Borghese

Media Cabinet" (Item No. 8311-567), and the "Borghese Commode" (Item No.

8311-225) (See, "Exhibit 3").

      85.    For instance, Neiman Marcus advertises a nightstand that it calls a

"Shilo Mirrored Chest" under the "Bedroom Mirrored Furniture" section of

Horchow's website (See, "Exhibit 17"). Bassettmirror.com calls the same

nightstand a "Murano Commode" (Item No. T2624-990) See, "Exhibit 3 11).

       86.   Neiman Marcus also sells the "Amelie Mirrored Nightstand" and

gives the following description: "A mirrored nightstand adds a bit ofglamour to

the bedroom" (See, "Exhibit 18"). It should be noted that the Amelie collection is




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exclusive to Neiman Marcus. Bassett calls the same nightstand a 'Borghese

Magazine Chest" (Item No. 8311-990) (See, "Exhibit 3") on bassettmirror.com .

      87.    Neiman Marcus sells the "Clairmonte Mirrored Nightstand" on its

website and gives the following description: "Add a little - or a lot - of shine to the

bedroom with this mirrored nightstand' (See, "Exhibit 19-A"). Neiman Marcus

sells the "Clairmonte Mirrored Dresser" on its website as well and gives almost

the same description (See. "Exhibit 19-B"). The Clairmonte collection is exclusive

to Neiman Marcus, so these two items are not found on Bassett's website. The

Clairmonte, however, is virtually identical to the Chelsea collection. These two

items are advertised and identified on bassettrnirror.coin as the "Chelsea Six

Drawer Console" (Item No. T1230-910) and the "Chelsea Magazine Chest" (Item

No. T1230-990) (See, "Exhibit 3")

       88.   Z Gallerie sells many of the same types of the wooden bedroom

furniture in its mirrored furniture section (See. "Exhibit 20-A"). Z Gallerie also

sells some of these items under the "Chests & Dressers" section of its bedroom

furniture page (See. "Exhibit 20-B").

       89.   In the chests and dressers section of Z Gallerie's website, Z Gallerie

sells several pieces of wooden bedroom furniture that are not laminated with

mirrors, but that it purchased from Bassett and are a part of the Bassett Furniture.

For instance, Z Gallerie sells the "Palais 6 Drawer Dresser" (See, "Exhibit 20-B")


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In its advertising materials, Bassett calls the dresser a Paia:ina Grand Chest"

(Item No. T2815-910) (See, "Exhibit 21")

      90.    Z Gallerie also sells what it calls a "Palais 2 Drawer Nightstand"

(See, Exhibit 22-A"). Bassett calls this nightstand a Paiazzina Night Chest"

(Item No. T2815-990) (See, "Exhibit 22-B") in its advertising materials.

      91.    As major retailers that deal heavily in imported wooden furniture, the

Retailers knew that the Bassett Furniture was of Chinese origin and had at least

constructive knowledge of the shipping records indicating that the Bassett

Furniture came from China. Moreover, all of the cartons that the Bassett Furniture

was shipped in were clearly labeled "Built in China" (See, "Exhibit 4-A" -

"Exhibit 5-13").

      92.    The Retailers knew that the Bassett Furniture was subject to

antidumping penalties and that Bassett was not paying the antidumping penalties.

The Retailers were also aware that the failure to pay antidumping penalties allowed

the Retailers to purchase the Bassett Furniture at substantially lower prices.




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                                COUNT I:
                VIOLATION OF THE CIVIL FALSE CLAIMS ACT
                   AS TO BASSETT (31 U.S.C. 4 3729(a)(1)(G))

       93.    The preceding paragraphs are re-alleged and incorporated by

reference as if fully set forth herein.

       94.    Relator, as the original source of information regarding Bassett's

violations of the False Claims Act, has direct and independent knowledge of the

information on which the allegations herein are based.

       95.    Bassett imported thousands of pieces of the Bassett Furniture into the

United States from July I, 2007 to present day.

       96.    Bassett had an obligation to pay the antidumping penalties to the

United States on each piece of the Bassett Furniture that it imported.

       97.    Bassett avoided its obligation to pay the antidumping penalties on the

Bassett Furniture that it imported by making or causing to be made a material false

record or statement to CBP.

       98.   Bassett knowingly and improperly made the material false record or

statement as Bassett had actual knowledge of the false information, acted in

deliberate ignorance the truth or falsity of the information, or acted in reckless

disregard of the truth or falsity of the information.

      99.    Specifically, on the Form 7501 and on other entry documentation for

shipments of the Bassett Furniture, Bassett knowingly and improperly entered the


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HTS classification code, and/or described the shipment, as non-bedroom furniture

when it knew that the Bassett Furniture was in fact wooden bedroom furniture.

       100. Bassett falsely classified the Bassett Furniture for the purpose of

importing goods into the United States penalty-free.

       101. Asa consequence, Bassett, with knowledge, falsely represented to the

CBP that no penalties should be assessed on the importation of the Bassett

Furniture and successfully avoided having to pay the antidumping penalties.

      102. Bassett has coordinated the importing of the Bassett Furniture and

falsely classified and/or described the Bassett furniture by shipping the furniture

into a variety of United States ports including but not limited to Savannah.

Wilmington, Norfolk, Miami, New York, Long Beach, and Los Angeles.

      103. Attached are spreadsheets of examples of shipments into ports in

Savannah, Wilmington, Norfolk, Long Beach, and Los Angeles. (See, 'Exhibit 23"

- 'Exhibit 27").

      104. For each of the shipments shown on the spreadsheets, Bassett

imported pieces of the Bassett Furniture, among other goods, and knowingly and

improperly classified and/or described the Bassett Furniture as something other

than bedroom furniture thereby avoiding antidumping penalties.

      105. For example, Row 2 of Exhibit 23 shows that on June 9, 2013 Bassett

imported 96 units of 'Ameiie 2 Door Mirrored Chest Amelie Hall Chest Am elie


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Small Mirrored Chest Dressden Mirrored Chest" from Zhong Shun Wood Art Co.

in China through the Port of Savannah. These pieces of furniture were classified as

"9403. 60" for wooden non-bedroom furniture.

       106. Each of these 96 units of furniture was wooden bedroom furniture that

carried with it an antidumping penalty of 216.01%. By knowingly and improperly

classifying the shipment as "9403. 60" and describing the shipment as non-

bedroom furniture on the Form 7501 and other entry documentation, Bassett was

able to avoid paying the 216.01% penalty

      107. As another example, Row 2 of Exhibit 24 shows that on March 25,

2013 Bassett imported 46 units of "6 Drawer Chest; 5 Drawer Chest; 2 Drawer

Chest" from Zhong Shun Wood Art Co. in China through the Port of Wilmington.

      108. Each of these 46 units of furniture was wooden bedroom furniture that

carried with it an antidumping penalty of 216.01%. By knowingly and improperly

classifying and describing the shipment as non-bedroom furniture on the Form

7501 and other entry documentation, Bassett was able to avoid paying the 216.01%

penalty.

      109. As a result. Bassett avoided the antidumping penalties on these

shipments of goods into the United States.

      110. Bassett's course of conduct therefore violated the False Claims Act,

31 U.S.C. § 3729, etseq.


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                             COUNT II:
      CONSPIRACY TO VIOLATE THE CIVIL FALSE CLAIMS ACT
     AS TO BASSETT MACY'S, NEIMAN MARCUS, AND Z GALLERIE
                     (31 U.S.C. 4 3729(a)(1)(C))

       111. The preceding paragraphs are re-alleged and incorporated by

reference as if fully set forth herein.

       112. The Defendants acted, and continue to act, in concert to violate the

False Claims Act by knowingly making, using, or causing to be made or used, a

false record or statement material to their obligation to pay money to the United

States by falsely classifying and describing that the Bassett Furniture was non-

bedroom furniture on each Form 7501 and other entry documentation that is

submitted to CBP.

       113. The Defendants also acted, and continue to act, in concert to violate

the False Claims Act by knowingly concealing or knowingly and improperly

avoiding or decreasing their obligation to pay or transmit money to the United

States of American by failing to properly disclose that the Bassett Furniture is

wooden bedroom furniture for purposes of antidumping penalties.

       114. The Defendants committed and continue to commit overt acts

described above in furtherance of the conspiracy, including but not limiting to

stating the false HTS classification and description for the Bassett Furniture on

required customs forms, purchasing the Bassett Furniture from Bassett with

knowledge that the antidumping penalties had not been paid, and selling the
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Bassett Furniture to the public and accruing greater profits due to their ability to

avoid the required antidumping penalties.

       115. As set forth in the preceding paragraphs, the Defendants have

knowingly violated 31 U.S.C. § 3729 et seq. and have thereby damaged the United

States by its actions in an amount to be determined at trial.

                              PRAYER FOR RELIEF

      Relator, on behalf of herself and the United States, pray that judgment be

entered against the Defendants and that forms of relief required by law and justice

be awarded including:

       1.    An award of treble damages, civil penalties, attorneys' fees, litigation

             expenses, and costs, with interest, against the Defendants, jointly and

             severally, in accordance with 31 U.S.C. § 3729 et seq. for the

             Defendants' violations of 31 U.S.C. § 3729(a)(1XG) and (a)(l)(C)

             (and/or the preceding version of such statutory section);

      2.     An award to Relator in the event that the United States continues to

             proceed with this action, of an amount for bringing this action in the

             amount of at least 15 percent of the proceeds of the action or

             settlement of the claims;
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    3.    An award to Relator in the event that the United States does not

          proceed with this action, in the amount of at least 25 percent of the

          proceeds of the action or settlement of the claims;

    4.    Trial by jury;

    5.    Relief to the United States and Relator both at law and equity, to

          which they may reasonably appear entitled.

    This 3rd day of July, 2013.



                                            THE PAT LAW FIRM, LLC


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                          CERTIFICATE OF SERVICE

      I hereby certify that this Complaint (filed under seal pursuant to 31 U.S.C. §

3730(b)(2) ) has been served via certified mail, return receipt requested, sufficient

postage prepaid, addressed as follows:

Civil-Process Clerk                            Attorney General of the United States
United States Attorney's Office                United States Department of Justice
22 Barnard Street                              950 Pennsylvania Avenue, N.W.
Suite 300                                      Patrick Henry Building
Savannah, Georgia 31401                        Washington, DC 20530

      This 3rd day of July, 2013.



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